Pinewood Medicai Center Matl - (no subject) Pagc 1 of 2

Niichaei O‘Connei| <michaei.oconneil@painmd.com>

 

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(no subject) l

6 messages

 

Kaitiin Hudson <kaitiin.hudson@painmd.com> Wed, Oct 27, 2010 at 7:02 PNE
To; lvl§ke O'Conneti t\!iD <rnichael.oconnei|@painrnd.corn>

/~E Can l ask a favor or have | used them all up already? Feei awkward asking you about this but you're one of
the best pain management docs around t hear so who better to ask'? Pius l consider you my friend Here's the
j scoop.

5 l\/ly boyfriend hurt his neck Actuai|y, Dan Fieury hurt his neck 2 weeks ago l_ong story. Kevin has hurt his

nec§< in the pastl between CB and C? he says. lie has no insurance to get an )<~ray or an i\/lRl tight novv. His
neck butts when he shakes his head no, no pain with yes Causihg numbness down his right annie the tast
three fingers on his right hand increased pain with raising his arm. l-ie is at his wits end w§th it. Triaied
Prednisone\, minimat reiiei. 400mg cf iv'lotrin TiD, rn§nimai, it any reiiet. l-le wants pain medicine and i do not
want him going down that road for obvious reasons is there anything you could do~ an iniection, anything»~ to
avoid narcotics’? l-ie is not rich by any means so affording to go anywhere else is toughl l don't even know if

il you would inject him because he has no recent x-ray or lViR|,,. Don‘t know what’s going on in there... i don't

know what to do._Can you help? `?houghts? if l‘ve used up my favors i completely understand

Sent from my iPhone

 

lillichaei O'Conne!l <michaei,oconneii@painmd.com> Thu, Oct 28, 2010 at 5':45 ANI

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Toi Kaitlin Hudson <kaitiin.hudson@paih'tnd.com>

Sounds §§i<e a C?'-B radicu§itis probably from a disc bulge.

We couid do an injection but would have to charge our costs, Which are probably about $200 cash or cahiers
check Eventually he needs an l\/iRl if symptoms recur. Thats about $1800. §-lcspitals cut no deals.

Happy to get-him in today during a cancellation Let rne know

iQuoted text hidden]

 

Kaitlin Hudson <kaitiin.hudson@painmd.com> Thu, Oct 28, 2010 at 6:44 Aiiil
`i'OZ i\/iiohaei O‘C`onnel| <_michael.oconne||@painmd.corn>

Thank you very much lVl§ke, §'|| talk to him this morning

____,_,,....,“-4»-..,.…_.*__~__*__~

...._......_,...._»-¢’""'” "--“.»._.h_".g_...,--"--.…m_._.»._,_-._."-~»-_.,`_

f§e;t trozn my §Phone
[Quotod text incident

 

Kait|in Hudson <kaitiin.hudson@painmd.com> Thu, ch.' 28, 2010 at 'i:D'l F'Ni
To: i\/lichaei O‘Conneii <michael.oconneli@pa§nrnd.com>

"'e eagles.tbe-.inie_ctic_n...ba§>_§g§§gfm\ggri<.

Nyla says that maybe a muscle reiaxer and a steroid would heib. You think’? Anythtng l could call in? | know
k____i‘rn being a pain th the ass but the thought of him having pain pitts treaks me out pretty bad
Seht from my §Phone

On Oct 28, 2010, at 5:45 A¥\/t, "lv'§ichael O‘C`,onneli‘l <michael,oconne|i@oainmd.corn> wrote:

https ://maii.googie.com/a/painmd.com/?ut:Q&ii<:¢iScocc973d&view=i;it& search$inbox&. .. 12/15/2@10

 

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Niichael O' Conneil <michae| occnnel|@painmd corn> Thu, OCt 28, 2010 at 1 :21 PN!
To: t<aiti§n Hudson <kait|th hudson@painmd. com>

 

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it`luoted text incident

 

Kaitlin Z-tudson <kaitiin. hudson@painmd com> Thu, Oct 28, 2010 at 1:31 Pl\fl
To; ivtichael 0' Cc~nnell <michaei oconnell@pai nmd com>

:,~"' Oi< thank yoL>

\ Sent from my iPhone

§Cb.uoted text tiiddeni

 

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